Case 1:21-cv-00072-RLY-MJD 49ptg:2607 JET -Galeg6$1/12/21 Page 1 of 2 Pagetittdt7/de2020 7:58 F
Marion Superior Court, Civil Division 13 Marion County, Indlias

STATE OF INDIANA ) 7 IN THE MARION SUPERIOR COURT
COUNTY OF MARION : ~ CAUSE NO.
JANICE WALTERS
VS.
JOHN DOE and SAM'S EAST, INC.,
d/b/a Sam's Club
COMPLAINT FOR DAMAGES

 

Comes now the plaintiff, Janice Walters, by counsel, Ken Nunn Law Office, and for
cause of action against the defendants, John Doe and Sam's East, Inc., d/b/a Sam's Club, alleges
and says:

l. That on or about March 3, 2020, as the plaintiff was attempting to retrieve a cart
from the cart corral at the Sam's Club store located at 7235 East 96th Street in Indianapolis,
Marion County, Indiana, an unknown defendant, John Doe, negligently pushed a row of
shopping carts into plaintiff, causing plaintiff to fall and suffer serious injuries.

Qi That the unknown defendant, John Doe, was in the course and scope of his
employment for the defendant, Sam's East, Inc., d/b/a Sam's Club.

3: That the defendant, Sam's East, Inc., d/b/a Sam's Club, is liable for damages to
plaintiff for all negligent acts committed by its unknown employee, John Doe, in the course of
his employment.

4, That the plaintiff received permanent injuries as a result of the defendants’
negligence.
3: That the plaintiff has incurred medical expenses and other special expenses in an

amount to be proven at the trial of this cause, and will incur future medical expenses, lost
wages, and other special expenses, as a direct and proximate result of defendants’ negligence.

WHEREFORE, the plaintiff demands judgment against the defendants for permanent
injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses
and other special expenses, for future medical expenses, lost wages, and other special expenses,
court costs, and all other proper relief in the premises.
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REQUEST FOR TRIAL BY JURY

Comes now the plaintiff, by counsel, Ken Nunn Law Office, and requests that this

matter be tried by jury pursuant to Trial Rule 38.

 

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